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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 HINSDALE BANK AND TRUST COMPANY,                   )
 N.A.,                                              )
                                                    )
                             Plaintiff,             )
                                                    )
                       Vs.                          ) No. 1:22-cv-03667
                                                    )
 CRYPTOFI, INC., D.M., M.M., and A.D.,              )
                                                    )
                             Defendants.            )

            DEFENDANT CRYPTOFI, INC.’S CORPORATE DISCLOSURE
                 PURSUANT TO FED. R. CIV. P. 7.1 AND L.R. 3.2

       Pursuant to Fed. R. Civ. P. 7.1, Defendant CryptoFi, Inc. (“Defendant”) states that it has

no parent corporation and that no publicly held corporation owns more than 10% of Defendant.

       Pursuant to LR 3.2 Defendant identifies Kian Sarreshteh, Connie Davis, Robert Hoffman,

and Aktion Partners as affiliates owning 5% or more of Defendant.


                                                            By: /s/ Thomas H. Peckham
                                                                    Thomas H. Peckham

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